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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

 PAULE. MOORE and
 ELIZABETH J. MOORE

 Plaintiffs

 v.                                                               Civil Action No. 17-CV-1500-GAM

 UNITED STATES OF AMERICA,

 Defendant
                                                                                                FILED
                                                                                                MAY 23 2017
                                                                                              KATE BARKMAN, Clerk
                                                                                            By           Dep. Clerk
                             NOTICE OF VOLUNTARY DISMISSAL

To the Clerk of Courts:

         Kindly dismiss the above noted action without prejudice to Plaintiff.


                                                                  Respectfully submitted,



Date:    5 -I q - 11-




      APPROVED BY THE COURT:




A . . .., a. _A .. -t'.!,.,,;
        nited States District Judge       .)-/   .dJ 3'   I' -,
